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                      UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION
                                    :
In re:                              :
                                    :
    Antoine Lazern Johnson AKA      :  Case No.: 21-13338
    Antoine L. Johnson, Jr.         :  Chapter 7
                                    :  Judge Carol A. Doyle
       Debtor.                      :  *********************
                                    :

                                    NOTICE OF MOTION
TO: See attached list.

        PLEASE TAKE NOTICE that on May 5, 2022, at 10:00 a.m., I will appear before the
Honorable Judge Carol A. Doyle, or any judge sitting in that judge's place, and present a Motion
for Relief from Stay, a copy of which is attached.

       This motion will be presented and heard electronically using Zoom for Government.
No personal appearance in court is necessary or permitted. To appear and be heard on the
motion, you must do the following:

       To appear by video, use this link: https://www.zoomgov.com/. Then enter the meeting
ID and password.

       To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-
7666. Then enter the meeting ID and password.

       Meeting ID and password. The meeting ID for this hearing is 161 155 8289 and the
password is Doyle742. The meeting ID and password can also be found on the judge's page on
the court's web site.

        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without a hearing.

                                            KeyBank National Association

                                            By:     /s/ Todd J. Ruchman
                                                  Todd J. Ruchman (6271827)
                                                  Manley Deas Kochalski LLC
                                                  P.O. Box 165028
                                                  Columbus OH 43216-5028
                                                  Contact email is tjruchman@manleydeas.com


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                                 CERTIFICATE OF SERVICE

       I certify that on the date of filing, a copy of the foregoing Notice of Motion was filed

electronically. Notice of this filing will be sent to the following parties through the Court's

Electronic Case Filing System:

   Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov

   Frances Gecker, fgecker@fgllp.com

   John H Redfield, Attorney for Antoine Lazern Johnson AKA Antoine L. Johnson, Jr.,
   jredfield@cranesimon.com

       I certify that on the date of filing, a copy of the foregoing document was sent by U.S.

Mail to the following:

   Antoine Lazern Johnson AKA Antoine L. Johnson, Jr., 16501 Evergreen Dr., Tinley Park, IL
   60477


                                                        /s/ Todd J. Ruchman




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                      UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION
                                    :
In re:                              :
                                    :
    Antoine Lazern Johnson AKA      :  Case No.: 21-13338
    Antoine L. Johnson, Jr.         :  Chapter 7
                                    :  Judge Carol A. Doyle
       Debtor.                      :  *********************
                                    :

      MOTION OF KEYBANK NATIONAL ASSOCIATION FOR RELIEF FROM THE
                   AUTOMATIC STAY (FIRST MORTGAGE)

         KeyBank National Association ("Creditor"), by and through the undersigned counsel,

moves the Court pursuant to 11 U.S.C. § 362(d) for an Order granting relief from the automatic

stay on the real property located at 16501 Evergreen Drive, Tinley Park, IL 60477 ("Property").

In support of its motion, Creditor states the following:

1.       Antoine Lazern Johnson AKA Antoine L. Johnson, Jr. (''Debtor'') filed a petition for relief

         under Chapter 7 of the Bankruptcy Code on November 23, 2021 (the "Petition Date").

2.       On May 19, 2020, Debtor executed a Note in the original amount of $337,750.00 (the

         "Note"). A copy of the Note is attached hereto as Exhibit A.

3.       To secure the Note, a Mortgage was given May 19, 2020 and recorded July 7, 2020. A

         copy of the Mortgage is attached as Exhibit B, evidencing perfection of Creditor's

         security interest in the Property which is more particularly described in the Mortgage.

4.       There are no other liens against the property as listed in Debtor's Schedule D.




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5.       As of March 2, 2022 the total outstanding amount due on the Note is $359,903.38 which

         consists of:

                             Principal         $334,396.35
                             Interest          $14,877.63
                             Escrow advance    $10,162.00
                             Late charges      $235.20
                             Other Fees        $232.20
                             Suspense funds    $(0.00)

6.       Creditor seeks relief from the automatic stay pursuant to 11 USC § 362(d) to proceed

         under applicable non-bankruptcy law to enforce its remedies to repossess and sell the

         Property.

7.       Creditor is entitled to relief from the automatic stay for the following reason(s):

         a.        Creditor is not adequately protected per 11 USC § 362(d)(1) based upon Debtor's
                   contractual default.

         b.        Debtor is in default in performance of the terms and conditions of the Note and
                   Mortgage and is contractually due for the January 2021 payment in the amount of
                   $2,465.18. Debtor's default totals $40,858.46. This amount is broken down as
                   follows:


                                  Payments Delinquent to Creditor

        Date Range                           Amount                               Total
 January 2021 to June 2021                  $2,608.59                          $15,651.54
July 2021 to December 2021                  $2,557.70                          $15,346.20
 January 2022 to April 2022                 $2,465.18                           $9,860.72

                                           Total: $40,858.46


8.       Creditor hereby waives the right under 11 U.S.C. § 362(e) to a hearing on this motion

         within 30 days of the date it is filed. Creditor further requests that Rule 4001(a)(3) be

         waived so that an Order Granting Relief from the Automatic Stay will take immediate

         effect.


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       WHEREFORE, Creditor prays for the entry of the attached Order Granting Relief from

the Automatic Stay.


                                                 Respectfully submitted,

                                                   /.s/ Todd J. Ruchman
                                                 Todd J. Ruchman (6271827)
                                                 Keith Levy (6279243)
                                                 Adam B. Hall (0088234)
                                                 Edward H. Cahill (0088985)
                                                 Stephen R. Franks (0075345)
                                                 Manley Deas Kochalski LLC
                                                 P.O. Box 165028
                                                 Columbus OH 43216-5028
                                                 Telephone: 614-220-5611
                                                 Fax: 614-627-8181
                                                 Attorneys for Creditor
                                                 The case attorney for this file is Todd J.
                                                 Ruchman.
                                                 Contact email is
                                                 tjruchman@manleydeas.com




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                                 CERTIFICATE OF SERVICE

       I certify that on the date of filing, a copy of the foregoing Motion of KeyBank National

Association for Relief from the Automatic Stay (First Mortgage) was filed electronically. Notice

of this filing will be sent to the following parties through the Court's Electronic Case Filing

System:

   Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov

   Frances Gecker, fgecker@fgllp.com

   John H Redfield, Attorney for Antoine Lazern Johnson AKA Antoine L. Johnson, Jr.,
   jredfield@cranesimon.com

       I certify that on the date of filing, a copy of the foregoing document was sent by U.S. Mail

to the following:

   Antoine Lazern Johnson AKA Antoine L. Johnson, Jr., 16501 Evergreen Dr., Tinley Park, IL
   60477


                                                        /s/ Todd J. Ruchman




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